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                                                          United States District Court
                                                          Central District of California


 UNITED STATES OF AMERICA vs.                                                 Docket No.             CR 19-448-MWF

 Defendant          1. David Eccleston                                        Social Security No. 2         9      2      6
       Mullings, Frederick Michael; Drayton, James;
       Chinnery, Ivan; Eccelston, David Michael;
                                                                              (Last 4 digits)
       Benjamin, Dennis; Eccleston, David St. Michael;
 akas: Beckford, Desmond Aldrick

                                            JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                       MONTH     DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.         FEB.       27      2023


 COUNSEL                                                                1.   Victor Sherman, Retained
                                                                              (Name of Counsel)

     PLEA             x GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                                CONTENDERE                GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Count 1: Conspiracy to Distribute and Possess with Intent to Distribute Cocaine in violation of 21 U.S.C. §§ 846, 841(a)(1),
          (b)(1)(A)(ii)(II), 851.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to
  ORDER   the custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid balance shall
be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate Financial
Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to pay and is not
likely to become able to pay any fine.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, David Eccleston, is hereby committed on
Count 1 of the Indictment to the custody of the Bureau of Prisons for a term of 46 months.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 5 years under the following terms and
conditions:

              1.      The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and
                      Second Amended General Order 20-04.

              2.      The defendant shall not commit any violation of local, state, or federal law or ordinance.

              3.      The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
                      within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests per month, as
                      directed by the Probation Officer.

              4.      During the period of community supervision, the defendant shall pay the special assessment in accordance with this
                      judgment's orders pertaining to such payment.

              5.      The defendant shall comply with the immigration rules and regulations of the United States, and if deported from this
                      country, either voluntarily or involuntarily, shall not reenter the United States illegally. The defendant is not required to
                      report to the Probation & Pretrial Services Office while residing outside of the United States; however, within 72 hours of
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                      release from any custody or any reentry to the United States during the period of Court-ordered supervision, the defendant
                      shall report for instructions to the United States Probation Office located at: the 300 N. Los Angeles Street, Suite 1300, Los
                      Angeles, CA 90012-3323

              6.      When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, the defendant
                      shall perform 20 hours of community service per week as directed by the Probation & Pretrial Services Office.

              7.      The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport or any other
                      form of identification in any name, other than the defendant's true legal name, nor shall the defendant use, any name other
                      than the defendant's true legal name without the prior written approval of the Probation Officer.

              8.      The defendant shall cooperate in the collection of a DNA sample from the defendant.

              9.      The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, or other areas under the
                      defendant's control, to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit
                      to a search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be subject to
                      searches pursuant to this condition. Any search pursuant to this condition shall be conducted at a reasonable time and in a
                      reasonable manner upon reasonable suspicion that the defendant has violated a condition of his supervision and that the areas
                      to be searched contain evidence of this violation.

 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.
 The defendant is advised of his appeal rights.

 The Court grants the government’s motion to dismiss the remaining counts of the Indictment, as to this defendant only.



            March 2, 2023
            Date                                                        Honorable Michael W. Fitzgerald
                                                                        U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                        Clerk, U.S. District Court




            March 2, 2023                                         By    Rita Sanchez /s/
            Filed Date                                                  Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:




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 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                           1. Special assessments under 18 U.S.C. § 3013;
                           2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                              States is paid):
                                     Non-federal victims (individual and corporate),
                                     Providers of compensation to non-federal victims,
                                     The United States as victim;
                           3. Fine;
                           4. Community restitution, under 18 U.S.C. § 3663(c); and
                           5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                      These conditions are in addition to any other conditions imposed by this judgment.


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                                                                     RETURN

I have executed the within Judgment and Commitment as follows:
  Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                               By
            Date                                                      Deputy Marshal

                                                                    CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                      Clerk, U.S. District Court


                                                               By
            Filed Date                                                Deputy Clerk



                                                  FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                       Defendant                                                               Date




                       U. S. Probation Officer/Designated Witness                              Date




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